       Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 1 of 21




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 KENNY A., by his next friend Linda           :
 Winn, et al.,                                :
                 Plaintiffs,                  :      CIVIL ACTION NO.
 v.                                           :      1:02-CV-1686-TWT
 NATHAN DEAL, et al.,                         :
                                              :
                     Defendants.              :


                STIPULATED ORDER AMENDING THE
             MODIFIED CONSENT DECREE AND EXIT PLAN

      On December 5, 2016, the Court entered the parties’ Modified Consent

Decree and Exit Plan [dkt. nos. 747 & 745-1] (“Exit Plan”). The parties jointly

moved the Court to approve and enter this Stipulated Order to amend one Outcome

Measure in the Exit Plan and incorporate the final Infrastructure Standards.

      The parties have agreed (with the Accountability Agent’s concurrence) to

revise one Outcome Measure in the Exit Plan to make it consistent with DFCS’

statewide policy regarding the time permitted to complete investigations of

reported abuse or neglect of foster children. Section VI.A.2 of the Exit Plan is

hereby amended as follows (revision noted in underlined text):

   2. Completion of CPS Investigations Concerning Children in Foster Care: At least
      95% of all investigations of reported abuse or neglect of foster children shall be
      completed, in accordance with Chapter 6 of DFCS’ Child Welfare Policy Manual,
      within 45 days of receipt of the report.
       Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 2 of 21




      Section VIII of the Exit Plan set forth a process and timeline for establishing

a set of Infrastructure Standards that will be used to measure the foundational

elements of the child welfare system that provides care, treatment, placements,

services, and protection to the Plaintiff Class of foster children in state custody in

Fulton and DeKalb Counties. After a specified negotiation period (which was

extended through December 18, 2017 [dkt. no. 755]), the parties reached

agreement on the Infrastructure Standards, which are attached hereto as Exhibit A.

Pursuant to Section VIII.B of the Exit Plan, these “final Infrastructure Standards

are enforceable obligations under th[e] Exit Plan, and the Accountability Agent,

with the assistance of MTAT, will measure and report on the Infrastructure

Standards in each subsequent reporting period.”

      Except as amended herein, all other provisions of the Modified Consent

Decree and Exit Plan entered by this Court on December 5, 2016, shall remain in

full force and effect.

IT IS SO ORDERED, this 19th day of December, 2017.


                                                 /s/Thomas W. Thrash
                                                THOMAS W. THRASH




                                          -2-
Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 3 of 21




            EXHIBIT A
       Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 4 of 21




                      INFRASTRUCTURE STANDARDS

DFCS retains the sole and complete authority to implement new or revise existing
child welfare policies. If DFCS proposes any revisions to the portions of the
DFCS policies referenced in these Infrastructure Standards, DFCS will provide
notice to the Accountability Agent and to Plaintiffs to discuss the potential impact
on the Infrastructure Standards. Once the new or revised DFCS policies become
effective, these Infrastructure Standards automatically will conform to the revised
DFCS policies, unless the parties and Accountability Agent otherwise agree to
revise the affected Infrastructure Standard(s).

I. COMPREHENSIVE PRACTICE MODEL

DFCS is in the process of developing a comprehensive practice model that will
serve to strengthen its workforce, promote collaborative partnerships, and most
importantly, achieve positive safety, well-being, and permanency outcomes for
children and families. When fully developed, the model is expected to evidence
essential foundational attributes to include being: values-driven, safety-focused,
results-based, trauma-informed, and partnership-centered. Upon these attributes,
the model will be comprised of key structural components to include guiding
principles, Solution Based Casework (SBC), quality caregiving, and safety-related
practices and tools. This will be needed to ensure that priority practice expectations
in Fulton and DeKalb counties fully align with the expectations throughout
Georgia.

II. ASSESSMENT AND INVESTIGATION OF MALTREATMENT IN CARE

DFCS seeks to ensure that every child in care is physically and emotionally safe.
DFCS will do so in accordance with the Principles described in the Modified
Consent Decree and Exit Plan § III. To do so, DFCS will:
   conduct safety assessments throughout each stage of the case (intake, ISA
     investigations, and foster care) to determine if children are safe or unsafe in
     their caregiving environment. Information gathered from the assessment
     including, but not limited to, analysis of history of DFCS involvement with
     the family will inform the safety decisions made on each case;
   take into account the traumatic stress of children;
   be informed of the impact of traumatic stress on children and parents as a
     part of the assessment, engagement, and service delivery processes;



                                          1
   Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 5 of 21




 actively engage ongoing partnerships with families and stakeholders to
  assure child safety; and
 provide timely and accurate individual and family centered assessments
  through a partnership of building consensus and shared decision-making.

A. Intake Assessment

   1. As part of the intake assessment for possible maltreatment in care, the
      DFCS CICC intake case manager shall gather information about family
      functioning, including identifying their stage of development in the
      family life cycle.

   2. DFCS shall incorporate an analysis of DFCS history as part of the intake
      assessment for possible maltreatment in care and throughout the life of a
      case. Some of the information that can be gathered from a family’s
      history includes, but is not limited to:
      a. the family’s previous response to intervention and treatment
         strategies;
      b. support networks previously used to reduce or mitigate safety
         concerns and the effectiveness of such supports;
      c. traumatic events affecting family members; and
      d. coping skills used by the family to deal with traumatic events.
B. Investigation

   1. For reports of possible maltreatment of children in care that meet the
      criteria for child abuse and/or neglect, the DFCS CICC intake worker
      shall assign a special investigation of maltreatment in care. The response
      time for a special investigation of maltreatment in care is immediate or
      within 24 hours.

   2. For reports that do not meet criteria for child abuse and/or neglect, the
      DFCS CICC intake worker shall either screen in for assignment of a
      policy violation assessment or screen out the report, in accordance with
      the timeframes specified in DFCS Policy 14.22 (effective Aug. 2016), as
      revised, and summarized below.

      a. When the report is screened out, the DFCS placement case manager is
         responsible for conducting a face-to-face visit to confirm child safety
         and the safety of other children in the placement. This applies to all


                                      2
       Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 6 of 21




            placement types (DFCS foster homes, CPS foster homes, CCI group
            homes) and must be completed within 24 hours of being notified of
            the screen out intake report(s).

         b. When the report is screened in as a possible policy violation, the
            DFCS case manager or the CPA/CCI case manager, based on where
            the child is currently placed, is responsible for: (1) making the first
            face-to-face contact within 24 hours; and (2) conducting the assigned
            policy violation assessment within 15 days from the date of the report.
            The assessment includes, but is not limited to:
               i. visiting the home of the caregiver;
              ii. conducting separate face-to-face interviews with children,
                   caregivers, and other household members; and
             iii. completing a policy violation assessment in the applicable
                   foster parent record in SHINES.

         c. Once the policy violation assessment has been completed, a staffing
            must be conducted within 48 hours to discuss the findings, including
            any observed deficiencies in caregiver capacity. If a policy violation
            has occurred, and if the home is to remain open, then a corrective
            action plan (CAP) must be written and approved within three (3) days
            of the staffing and must be completed within six months.

III.   CASE PLANNING AND MANAGEMENT
DFCS is committed to a case planning process that is family owned and focused on
addressing and resolving agreed upon safety concerns. This case planning process is
undergirded by the four milestones of Solution Based Casework: (1) building toward
a consensus summary; (2) forming family agreements around outcomes; (3) creating
a specific action plan; and (4) noticing, documenting, and celebrating success. Up-
to-date assessment information about child and family strengths and needs are used
to inform case plan development and revision. Regular family meetings serve as the
primary means to ensure that families are continually engaged in case planning and
decision-making.
DFCS will develop a specific process for promoting timely and lasting permanency.
In this process, special consideration will be given to children at risk of being in
long-term foster care.




                                         3
   Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 7 of 21




A. DFCS will use current assessment information to inform case planning in
   foster care.

   1. A transfer staffing shall occur within five (5) business days of the
      child(ren) entering care, in accordance with DFCS Policy 19.4 (eff. Dec.
      2016), as revised.

   2. The DFCS case manager will develop a Family Functioning Assessment
      (FFA) to inform case planning in foster care, which will strengthen
      caregiver capacity to ensure child well-being and safety over the long
      term. The FFA:
      a. includes engagement of the family in a partnership to identify safety
         concerns;
      b. describes the allegation of maltreatment both reported and found in
         the context of the family’s everyday life routine;
      c. tracks the sequence of everyday life events that led to the incident of
         maltreatment;
      d. identifies family developmental stages and associated challenges;
      e. identifies family supports;
      f. identifies child/youth development and associated vulnerabilities; and
      g. identifies caregiver patterns of behavior issues that affect parental
         capacity to care and protect.

B. DFCS will convene family meetings to drive the case planning process.
   DFCS is revising its policy regarding Family Team Meetings (see DFCS
   Policy 19.3 (eff. Dec. 2016)) to define a collaborative planning process that
   will best enable families to build consensus and make decisions for
   themselves. Family Team Meetings will provide the structure for this
   collaborative planning process and will be used to develop the Family Plan
   with agreed upon individual level outcomes (ILOs) and family level
   outcomes (FLOs). By the end of calendar year 2018, DFCS will determine
   its model for Family Team Meetings (including the name of the model,
   persons responsible for facilitating the meetings, timeframes for the
   meetings, and specific expectations for DFCS staff and providers staff);
   DFCS will conduct all necessary training for case managers, supervisors and
   staff at all levels regarding the new model for Family Team Meetings; and
   DFCS will begin implementation.




                                      4
   Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 8 of 21




C. DFCS will create and utilize genograms in case planning.
   1. To more fully understand the composition of the child’s immediate and
      extended family (including fictive kin/natural helpers) and, more
      importantly, to identify how they could serve as resources to help
      mitigate safety concerns and promote strengthening of family
      functioning, the DFCS case manager in partnership with the family shall
      construct a genogram. The genogram will be used throughout the case
      process to identify potential placements and family supports.

   2. Construction of the genogram shall:
      a. include at least three generations of family members on both sides of
         the family;
      b. embrace cultural differences regarding “who is family” and include all
         who serve in parental capacity;
      c. include natural helpers, friends, confidants of the caretakers, and older
         children; and
      d. indicate who was living in the home at the time of the assessment.

   3. Composition of a genogram should be evolved over the life of a case as
      trust between the case manager and the family is strengthened and
      additional family members and natural helpers are identified and shared
      by the family. As such, the genogram should be revisited periodically and
      continuously serve as a tool to broaden the pool of resources available to
      the family both during and after DFCS involvement.

D. DFCS shall assist the family to create plans, implement them and track
   progress.

   1. DFCS shall assist the family in creating initial action plans and the case
      plan. Action plans are the steps and tasks needed to meet the goal of the
      family agreement/case plan. Action plans will be based on updated
      assessments of the child and family and will be used to guide case
      planning for permanency.

   2. Within 30 days of entry into foster care, a case plan with all required
      elements will be submitted to the Juvenile Court for approval. Case plans
      with all required elements and service needs shall be reviewed, updated,
      and revised (with submission to the Juvenile Court for approval)



                                      5
   Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 9 of 21




      whenever necessary, based on DFCS Policy 10.23 (eff. Feb. 2017), as
      revised, and in accordance with state law.

   3. DFCS shall engage parent(s)/caregiver(s), child(ren)/youth, and
      collaterals during purposeful contacts to measure progress and determine
      the effectiveness of the action plan(s).

   4. DFCS shall revise the action plan in partnership with the family or youth
      when barriers to Family Level Outcome (FLO) or Individual Level
      Outcome (ILO) achievement are identified.

   5. DFCS shall provide or arrange for individualized services for families
      involved in a child welfare case, based on the developmental challenges
      they are experiencing in their everyday life. Referrals for services shall
      occur within five (5) business days of the identification of the need for
      services to address safety, permanency, and well-being.

E. DFCS will take steps to promote timely and lasting permanency.

   1. DFCS will use the monthly case staffing to ensure key practice activities
      are occurring, identify permanency barriers, and develop action items to
      promote timely permanency.

   2. The Kenny A. Permanency Review Team and MTAT will analyze data to
      understand the factors that may delay permanency or promote timely and
      lasting permanency. The Kenny A. Permanency Review Team also will
      provide coaching support for monthly case staffings. Coaching summaries
      will be shared with county, regional, district, and state leadership to
      address systemic issues.

   3. In order to promote consistency and clarity, to share information and
      expertise, and to coordinate recommendations obtained through various
      permanency reviews that are conducted for children in care, Fulton and
      DeKalb counties will conduct quarterly “SWAT” meetings throughout
      calendar year 2018.

      a. A “SWAT” meeting is conducted on foster care cases at intervals of
         three, six, nine, and 12 months in care and incorporates all other
         staffings due in that month (including the SBC Case Consultation at the
         sixth month interval). The SWAT tool is used in lieu of other staffing


                                     6
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 10 of 21




             tools. Action steps from any prior permanency staffing are streamlined
             into the SWAT staffing and monitored in the following months.

         b. Participants in these quarterly “SWAT” meetings will include case
            managers, supervisors, administrators, the Kenny A. Permanency
            Review Team, Quality Assurance, and a SWAT facilitator. DFCS also
            will consider whether it is appropriate to include families in these
            quarterly “SWAT” meetings.

      4. Once these steps have been implemented for one year, leadership will
         assess to determine permanency effectiveness. If revisions are needed to
         this process, those changes will replace requirements in this section.

IV.   QUALITY PLACEMENT AND CAREGIVING
The infrastructure standards below describe specific DFCS commitments at every
level to ensure that every child in care will have a stable, nurturing placement in
accordance with the Principles outlined in the Modified Consent Decree and Exit
Plan § III. These standards address the specific tasks that will be done so that
family ties are maintained and nurtured. DFCS prioritizes children being placed
with relatives who are able to provide a safe, nurturing home for them. Critical
components of the screening, training, approval, and support process for all
caregivers are also described in this section.
   A. Screening, Training, and Approval Process for Prospective Foster and/or
      Adoptive Parents

      1. DFCS shall provide screening, pre-service training and a comprehensive
         written Initial Family Evaluation (IFE) for all prospective caregivers
         within the timeframes outlined in DFCS Policy 14.10 (eff. Aug. 2016), as
         revised.

      2. DFCS shall include in caregiver screening and ongoing support the
         caregiver’s ability to support the child’s relationship with his/her birth
         family, including extended family. This includes the degree of support
         for contacts between the child and his/her siblings and other birth family
         and the caregivers’ feelings, willingness, and ability to work with birth
         families toward reunification, including methods used to support this
         plan.



                                         7
   Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 11 of 21




   3. DFCS shall complete a written re-evaluation of the overall quality and
      functioning of each approved caregiver on an annual basis.

   4. DFCS shall support each caregiver’s involvement in initial and
      continuing education activities that enable them to develop competencies
      and skills needed to be successful in meeting the needs of children in
      foster care. DFCS shall ensure Continued Parent Development (CPD) is
      relevant to the characteristics of children being placed in the home.
      DFCS shall verify that all approved foster caregivers obtain CPD each
      year, as outlined in DFCS Policy 14.9 (eff. July 2017), as revised.

B. Placement with Relatives and Fictive Kin
   1. Diligent Search
      a. DFCS shall begin diligent search for absent parents, relatives, and
         other committed individuals at the onset of involvement with the
         family, using all sources outlined in DFCS Policy 19.20 (eff. Oct.
         2015), as revised.

      b. DFCS shall conduct diligent searches throughout the duration of the
         child remaining in foster care and shall submit to the court results and
         responses from individuals contacted as a result of searches at each
         judicial or citizen judicial panel review.
   2. Expedited placement to allow for immediate placement with relatives and
      fictive kin. This will include, but not be limited to:
      a. prior to placement, screen all household members;
      b. prior to placement, conduct criminal history search of adult household
          members; and
      c. prior to placement, assess the relative or fictive kin home for
          appropriateness and child safety.
   3. The DFCS or provider case manager will facilitate the approval process
      by providing potential caregivers with assistance to complete necessary
      paperwork, obtain items that are required for approval, make home
      modifications or provide financial support.

C. Disclosure of Information
   1. DFCS shall provide caregivers with as much information as possible
      about children being placed in their home, including current and


                                      8
  Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 12 of 21




      historical information about children’s mental health, developmental
      trajectory, physical health, and education, as well as a copy of the Child’s
      Plan (Provider View Only) and the Family Plan and Written Transitional
      Living Plan (WTLP), if applicable.
   2. DFCS shall keep the caregivers informed of plans for the children and of
      birth family information that affects the child placed in their home.
   3. DFCS shall provide the caregivers with procedures for agency contact
      (DFCS and other agency staff) should emergencies arise in the home and
      discuss a plan with the caregivers for handling emergency situations.
   4. DFCS shall give the caregivers timely notice of periodic reviews or
      hearings to be held in regard to the children in their home. Caregivers
      are encouraged to attend reviews, hearings and other family meetings in
      order to share information regarding the children.
D. Support for Children and Caregivers
   1. DFCS shall obtain relevant and sufficient information on a monthly basis
      from service providers involved with the child to determine the
      effectiveness of services, the impact of services on the achievement of
      the permanency plan, and the role of services in strengthening and/or
      stabilizing the placement.
   2. DFCS shall maintain specialized Caregiver Recruitment and Retention
      (formerly Resource Development) staff to meet the specific needs of
      caregivers.
   3. DFCS will make available one centralized number (1-877-210-KIDS
      option 2) for all caregivers to call whenever help is needed related to one
      or more of the children in their home.
   4. DFCS shall request all caregivers participate in an exit meeting with the
      agency at termination of caregiver service and request completion of the
      Foster Parent Exit Survey.
   5. DFCS shall assure caregivers understand and apply the reasonable and
      prudent parenting standard, as described in DFCS Policy 14.26 (eff. Oct.
      2015), as revised, when determining whether to allow children in foster
      care to participate in particular extracurricular, enrichment, cultural, and
      social activities.




                                       9
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 13 of 21




V. HEALTH AND EDUCATION
DFCS will ensure that children receive the medical, dental, mental health, and
educational services that they need regardless of race, religion, ethnicity,
disabilities, sexual orientation, or gender identity.
   A. Initial Screenings and Follow-Up Treatment

      1. Physical Health Screening: All children shall receive a medical
         screening in compliance with Early Periodic Screenings, Diagnostics, and
         Treatment (EPSDT) standards, within ten (10) days of placement,
         including at a minimum, the components identified in the Georgia Health
         Check Program, and shall receive any and all treatment as directed by the
         child’s assessing physician.

      2. Dental Health Screening: All children shall receive a dental screening
         within ten (10) days of placement in compliance with EPSDT standards
         including at a minimum the components identified in the Georgia Health
         Check Program, and shall receive any and all treatment as directed by the
         child’s assessing dentist or pediatrician.

      3. Mental Health: All children five (5) years of age and older shall receive
         a trauma assessment conducted by a licensed mental health professional
         and completed within 30 days of placement, and shall receive any and all
         treatment as directed by the child’s assessing licensed mental health
         professional.

      4. All children four (4) years of age and under shall receive a developmental
         assessment conducted by a licensed professional and completed within
         45 days of placement in compliance with EPSDT standards including at a
         minimum, the components identified in the Georgia Health Check
         Program, and shall receive any and all treatment as directed by the
         child’s assessing professional.

   B. Periodic Health Screenings and Treatment – Each child will have a physical
      examination at least once a year in addition to all EPSDT consistent with all
      recommendations for preventative pediatric healthcare posted at:
      https://brightfutures.aap.org/Pages/default.aspx.




                                        10
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 14 of 21




   C. DFCS shall monitor the well-being of each child prescribed psychotropic
      medication in accordance with DFCS Policy 10.12 (eff. June 2016), as
      revised.

   D. DFCS shall invite parent(s) to attend all of their child(ren)’s medical and
      dental appointments, unless prohibited by court order or child safety
      concerns.

   E. DFCS shall refer all children between the ages of five (5) and 18 for an
      educational assessment (EPAC) within one (1) business day of the
      Preliminary Protective Hearing (if the child remains in DFCS custody).

   F. DFCS shall ensure each child in foster care over five (5) years of age is
      enrolled a full time elementary or secondary school or has completed
      secondary school in accordance with DFCS Policy 10.13 (eff. Sept. 2017),
      as revised.

   G. DFCS shall ensure youth above the age of compulsory school attendance
      (age 16 or above) and interested in pursuing a GED rather than a high
      school diploma are referred to EPAC for assessment and determination of
      the most appropriate educational program.

   H. DFCS shall ensure the educational stability of all children while in foster
      care including making every effort to keep children in their current school.

   I. DFCS shall develop or update the Written Transitional Living Plan (WTLP)
      for a child in foster care who has attained 14 years of age, in the timeframes
      prescribed by DFCS Policy 13.3 (eff. Oct. 2015), as revised.

VI.   CHILD WELFARE INFORMATION SYSTEM AND QUALITY
      ASSURANCE
The Infrastructure Standards below pertain to DFCS’ obligation to continue to
develop, maintain, and use an automated child welfare information system in
which data accuracy and integrity is maintained on a continuous basis, and which
is both compliant with current federal standards and meets current federal reporting
standards. The Statewide Automated Child Welfare Information System
(SACWIS) shall include functionalities that support automated case management
and that conform to DFCS Policy 2.1 (eff. Mar. 2015), as revised, including those
functionalities necessary to support SBC. And finally, it shall support monitoring


                                         11
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 15 of 21




and quality assurance efforts consistent with on-going continuous quality
improvement efforts.
   A. Meeting Federal Standards
      1. The Comprehensive Child Welfare Information System (CCWIS) final
         rule became effective August 2016. States have until August 1, 2018 to
         notify the Administration for Children and Families (ACF) of their intent
         to either transition the existing SACWIS System to CCWIS, develop a
         new CCWIS System, or opt out.

      2. CCWIS requirements focus on quality data and program outcomes
         including: developing and implementing a data quality plan; new data
         exchanges; and requiring a data exchange standard.

   B. Case Management Functionalities
      1. The DFCS automated child welfare information application shall support
         end users in their obligation to enter child and case specific information
         across all stages of a child welfare case.

      2. DFCS shall continue to modify system functionalities to align with the
         development and roll out of the DFCS comprehensive practice model.

      3. DFCS shall continue to develop, validate, and modify reports based on
         data housed in the administrative data system that support on-going case
         management and case review.

   C. Monitoring, Quality Assurance, and Continuous Quality Improvement
      1. DFCS shall develop methodologies for monitoring adherence to
         Infrastructure Standards that rely on validated state administrative data
         analysis and reports.

      2. DFCS shall develop methodologies for quality assurance, including case
         reviews that are reliant on data stored in the administrative database.

      3. DFCS shall develop methodologies for on-going evaluation of progress
         on child welfare outcomes, including those specified in the Modified
         Consent Decree and Exit Plan, that are based on validated data stored in
         the state administrative data system.


                                         12
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 16 of 21




VII. SUPERVISION OF CONTRACT AGENCIES
This section applies to any contract for the provision of placements and services to
class members into which DHS enters during the contract cycle, or as soon as
practicable following the entry of the Modified Consent Decree and Exit Plan.
Standards below relate to these recommendations as well as the requirements that
contract agencies comply with the terms of the Modified Consent Decree and Exit
Plan, including its Principles, and meet or exceed agreed upon outcomes for
children and families.
   A. DFCS shall require, and shall take appropriate steps to ensure, that all CCIs
      or CPAs that provide placements and services to class members meet all
      applicable terms of this Modified Consent Decree and Exit Plan.

   B. DFCS shall only contract for placements or services with licensed
      contractors or sub-contractors. No child shall be placed in an unlicensed
      facility.

   C. DFCS will also specify in any such contract that the suspected abuse or
      neglect of any class member while receiving such placement or services
      shall be reported per mandated reporter requirements. All placement
      providers for foster children in DFCS custody are prohibited from using or
      authorizing the use of corporal punishment, and that any suspected corporal
      punishment while in the provider’s care shall be reported to DFCS for
      screening, assessment, or investigation as necessary.

      The findings of investigations of suspected abuse or neglect, or the
      assessment or investigation of suspected corporal punishment, shall be
      considered by DHS, through its Residential Child Care Licensing (RCCL)
      Unit, in determining whether to impose a licensing sanction against a
      contract agency for violation of applicable rules and regulations. With
      respect to contract agencies’ contractual violations, DHS may use such
      contractual remedies as provided by the contract and by applicable Georgia
      statutes and/or rules and regulations. The failure of a contract agency to
      report suspected abuse or neglect, or corporal punishment, of a child to
      DFCS shall result in appropriate disciplinary action being followed in
      accordance with child welfare policies, RBWO Minimum Standards, from
      immediate termination of the contract or placement of the provider on
      admission suspension, through termination of the contract.




                                         13
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 17 of 21




   D. DFCS shall ensure that all CCIs or CPAs that provide placement and
      services to class members report to DFCS accurate data in accordance with
      the standards so that their compliance with the terms of this Modified
      Consent Decree and Exit Plan can be measured.

   E. DFCS shall develop reports that characterize contract agency performance
      on outcomes for the children they serve. These reports shall be developed
      using the state administrative data system. The reports that are produced
      shall be the basis for continued utilization and overall contracting as well as
      financial reimbursement.

   F. DHS, through its Residential Child Care Licensing (RCCL) Unit, shall
      conduct licensing evaluations of all child-caring institutions and child-
      placing agencies providing placement and services to class members, to
      ensure, among other things, the safety and well-being of class members in
      accordance with the rules and regulations of the licensed facility type.

      As part of such evaluations, RCCL Unit shall ensure that each CCI and CPA
      shall receive at least one unannounced inspection a year to review all
      relevant aspects of the agency/institution’s operations.

      The RCCL Unit shall prepare a written report after each visit detailing its
      findings, and shall provide follow-up visits or monitoring if deemed
      necessary. With respect to license-holders’ deficiencies, the RCCL Unit
      may use such remedies as provided by applicable Georgia statutes and rules
      and regulations.

   G. The Office of Provider Management (OPM) shall complete safety reviews of
      foster homes depending on the size of the agency and special safety reviews
      of foster homes when additional concerns are identified.

VIII. ROBUST WORKFORCE DEVELOPMENT
DFCS is committed to developing and supporting a competent and professional
workforce. The Infrastructure Standards described below reflect that commitment
and will provide a continuous learning environment that addresses emerging best
practices, maintains professional ethics, and builds the skills and competencies
necessary to address the needs of vulnerable children and families.




                                         14
  Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 18 of 21




A. Employee Selection Protocol
   1. The Employee Selection Protocol shall be utilized during the hiring
      process to ensure the selection of the most appropriate child welfare
      employment candidates for DFCS.

   2. DFCS shall employ a continuous quality improvement process to
      evaluate and determine the effectiveness of the Employee Selection
      Protocol.

   3. DFCS shall implement the provision of an employee satisfaction survey
      for all DFCS staff to guide development and implementation of strategies
      intended to continuously strengthen DFCS’ workforce.

B. Hiring Process and Coordination with the Department of Human Services’
   Office of Human Resources (OHR)
   1. OHR will post positions within three (3) business days of an approved
      request.
   2. OHR will identify vacancies and provide a monthly report to the County
      Director, Regional Director, and District Director.
   3. An OHR recruiter will conduct recruitment events at least monthly.
   4. Recruitment efforts will be shared with the respective counties quarterly
      to County Director, Regional Director, and District Director by way of
      email correspondence.
   5. OHR will screen and forward the list of qualified applicants to the
      County Director and designee within five (5) business days of the closure
      of the posting.
   6. OHR will finalize all recruitment efforts from initiation through offer
      letter in an expeditious fashion, but no later than five (5) business days
      after receipt of the cleared criminal background check.
   7. OHR in coordination with DFCS will process all position requests, salary
      increase requests, and temporary salary supplements within 20 days of
      approval and recommendation from the County Director, Regional
      Director, and District Director.




                                      15
  Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 19 of 21




C. Training

  1. No case manager shall assume primary responsibility for a CPS, family
     preservation, foster care, or adoption case, until achieving certification as
     a result of their successful participation in new worker training.

  2. All supervisors who supervise case managers with caseloads shall
     complete the DFCS supervisory training within 120 days of promotion to
     the position or appointment. All supervisors of case managers with
     caseloads shall receive a minimum of 20 hours of in-service training each
     year.

  3. DFCS shall implement a mentoring program for child welfare
     supervisors to ensure that child welfare case managers are appropriately
     supported by their direct supervisors.

  4. Private provider agencies with whom DFCS contracts for the provision of
     placement for children in DFCS custody shall be required, through
     contract provisions, to certify that employees providing case management
     or supervisory services for DFCS have completed a curriculum approved
     by DFCS to ensure that the general content areas are appropriate to the
     work being performed. Where casework activities mirror those of DFCS
     case managers or supervisors, the curriculum shall be comparable to
     DFCS’ pre-service and in-service training.

  5. All case manager supervisors shall have either: (i) a minimum of a
     bachelor’s degree in social work or a related field and at least two years
     of experience as a case manager in child welfare; or (ii) a Master’s degree
     in social work or a related field and at least one year of experience as a
     case manager in child welfare, or in a lead/supervisory role in a social
     services program of the DFCS or similar human services delivery
     program.

D. Caseload Management

  1. In accordance with the Modified Consent Decree and Exit Plan § V,
     DFCS has committed to maintaining caseload caps for specific types of
     cases. That measurement of caseloads shall include deployed workers,
     PRNs, and any DFCS staff that have a child from Fulton and DeKalb
     counties on their caseloads.


                                     16
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 20 of 21




      2. Caseload standards are applicable for all cases on a case manager’s load,
         regardless of the stage of the case.

      3. DFCS shall develop analytic monthly reports that will support their
         efforts to manage caseloads and staffing on an on-going basis. Those
         reports will involve:
         a. workforce dynamics (recruitment, hiring, turnover and vacancy rates);
         b. climate and culture assessments; and
         c. metrics to strategize caseload management (including timely and safe
            case closure practices).

      4. DFCS will provide to Plaintiffs and MTAT monthly CPS caseload
         reports. DFCS shall generate quarterly reports, verified by MTAT,
         detailing DeKalb’s and Fulton’s progress in meeting timeframes for case
         assessments from intake to closure in accordance with DFCS policy and
         case practice expectations (including the Initial Intake Safety Assessment
         and case track assignment). This information, in conjunction with
         caseload reports, will be used to assist in monitoring caseloads starting in
         the intake phase in order for DFCS to meet its staffing goals for CPS,
         family support, family preservation, foster care, and adoption cases, but
         does not expand the scope of the Modified Consent Decree and Exit Plan.
         These reports and other information gathered in this Robust Workforce
         Development section shall replace the Curative Action Plan for CPS
         caseloads dated December 18, 2014 that was referenced Section X.C. of
         the Modified Consent Decree and Exit Plan.

IX.   MAXIMIZATION OF FEDERAL FUNDING
Effective and cost-efficient child welfare systems depend on multiple funding
streams to pay for services and supports for the children and families they serve.
In recent years, DFCS leadership has made notable progress in securing state funds
to provide needed child welfare services. With respect to federal funds, DFCS
leadership shall continue to consider opportunities to maintain and expand federal
revenue through IV-E eligible programming including: approving relatives as
foster parents; offering federal reimbursed guardianship subsidies; and developing
federally reimbursable extended foster care programming.
DFCS shall maximize funds available through Titles IV-B and IV-E of the Social
Security Act, and Medicaid funding. DFCS shall establish baselines for present
levels of state and federal funding in order to identify increases in federal funding.


                                          17
      Case 1:02-cv-01686-TWT Document 757 Filed 12/19/17 Page 21 of 21




The parties intend that any increase achieved in federal funding shall not supplant
state funds for foster care services. DFCS shall demonstrate to the reasonable
satisfaction of the Accountability Agent that DFCS has an appropriate mechanism
in place for reporting the budgeting of both federal and state dollars. Plaintiffs’
agreement herein is premised upon the good faith representation by DFCS and the
Governor that their policy will be to urge the General Assembly that state dollars
committed to DFCS for the provision of services and resources to benefit children
in the class shall not be decreased from current levels if efforts to maximize federal
dollars result in additional federal funding.




                                          18
